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               IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,

                 Plaintiffs,                            4:12CR3114

     vs.
                                                           ORDER
WILLIAM WHITEHOUSE,

                 Defendant.

     Upon review of Defendant’ motion, (Filing No. 151),

     IT IS ORDERED:

     1)    Defendant’s unopposed motion for early release from public law
           placement, (Filing No. 151), is granted.

     2)    On or about December 17, 2017, Defendant shall transition from
           public law placement at Dismas in Kearney, Nebraska to reside with
           his fiancé in Kearney, Nebraska.

     3)    The defendant shall comply with all other terms and conditions of his
           supervised release which were imposed at sentencing.

     Dated this 29th day of November, 2017.

                                          BY THE COURT:

                                          s/ Richard G. Kopf
                                          Senior United States District Judge
